        Case 2:13-cv-20000-RDP Document 2510 Filed 08/22/19 Page 1 of 2                                FILED
                                                                                              2019 Aug-22 PM 03:58
                                                                                              U.S. DISTRICT COURT
                                                                                                  N.D. OF ALABAMA
                         UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                              SOUTHERN DIVISION

                                             }
                                             }
                                             }
IN RE: BLUE CROSS BLUE SHIELD                }
ANTITRUST LITIGATION                         }       Master File No.: 2:13-CV-20000-RDP
(MDL No.: 2406)                              }
                                             }              This document relates to all cases.
                                             }
                                             }

         ORDER APPROVING SPECIAL MASTER INVOICE FOR PAYMENT

       Before the court is the August 2, 2019 application of Edgar C. Gentle, III, the

Court-Appointed Special Master, for payment for services rendered and expenses incurred from

July 1, 2019 through July 31, 2019 in this matter as it relates to services rendered for both sides

of the case and totaling $9,000.00.

       The application was submitted to the court, Plaintiffs= Liaison Counsel, Interim Lead

Counsel, Local Facilitating Counsel, the Plaintiffs Steering Committee for the two Plaintiff

Tracks, and the Lead Defense Counsel.

       The application was allowed to lie over for 20 days, so as to allow the court, Plaintiff

leadership and Defendant leadership to lodge any objections thereto.     None have been received

by the court or the Special Master.

       The court has reviewed the application and finds it to be fair and reasonable.

       The court therefore ORDERS that the Special Master=s application for payment is hereby

approved, with: (i) one-half, or $4,500.00, to be paid by the Defendants; and (ii) one-fourth, or

$2,250.00, to be paid by the Subscriber Track, and one-fourth, or $2,250.00, to be paid by the

Provider Track, from their Common Benefit monies.
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The court reserves the power to modify the terms of this order.

DONE and ORDERED this August 22, 2019.



                                     _________________________________
                                     R. DAVID PROCTOR
                                     UNITED STATES DISTRICT JUDGE




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